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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                             )
STATE OF NEW YORK, ET AL.,                   )
                                             )
         Plaintiffs,                         )
                                             )
                 v.                          )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )         Case No. 25-cv-11221-WGY
                                             )
       Defendants.                           )
                                             )
                                             )
                                             )
                                             )
                                             )
                                             )
                                             )
                                             )

                        DECLARATION OF MATTHEW GIACONA

       I, Matthew Giacona, declare as follows:

       1.     I am the Principal Deputy Director of the Bureau of Ocean Energy Management

(BOEM) within the Department of the Interior (DOI). I have served as Principal Deputy

Director since May 18, 2025. Prior to my current role, I served as Senior Advisor to the

Secretary from March 24, 2025, to May 17, 2025.

       2.      As part of my duties, I provide policy direction to BOEM’s career

management, oversee BOEM’s implementation of the Administration’s policies, and serve as

a liaison between BOEM staff and DOI leadership.

       3.      On January 20, 2025, President Trump issued a Presidential Memorandum

entitled, Temporary Withdrawal of All Areas on the Outer Continental Shelf from Offshore

Wind Leasing and Review of the Federal Government’s Leasing and Permitting Practices for

Wind Projects (Wind Memo).


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       4.       Section 2(a) of the Wind Memo directed several agencies, including DOI, to

“not issue new or renewed approvals, rights of way, permits, leases, or loans for onshore or

offshore wind projects pending the completion of a comprehensive assessment and review of

Federal wind leasing and permitting practices.” Further, Section 2(a) of the Wind Memo

directed DOI to lead that assessment and include the consideration of “the environmental

impact of onshore and offshore wind projects upon wildlife, including, but not limited to, birds

and marine mammals” and “the economic costs associated with the intermittent generation of

electricity and the effect of subsidies on the viability of the wind industry.”

       5.      DOI has begun to conduct the assessment called for by Section 2(a) of the Wind

Memo. I have attended meetings with recently appointed DOI officials to plan how to further the

ongoing assessment. DOI has begun compiling and reviewing information regarding the

environmental and economic impacts of wind projects that is needed to support the

comprehensive assessment. DOI has also begun compiling and reviewing information about the

practices that previous administrations have used to review wind projects.

       6.       Attached as Exhibit A is a true and correct copy of the January 29, 2025,

Secretary’s Order No. 3415, Amendment No. 1 that temporarily suspended the delegation of

authority to bureaus within DOI to take certain actions.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.


Executed this 29th day of May, 2025
                                             MATTHEW                  Digitally signed by MATTHEW
                                                                      GIACONA
                                             GIACONA                  Date: 2025.05.29 12:26:30 -04'00'
                                               ________________________________
                                               Matthew N. Giacona
                                               Principal Deputy Director
                                               Bureau of Ocean Energy Management
                                               Department of the Interior
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                             EXHIBIT A
              Secretary’s Order No. 3415, Amendment No. 1
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ORDER NO. 3415, Amendment No. 1

Subject: Temporary Suspension of Delegated Authority.

Sec. 1. Purpose. This Order is made for the purpose of implementing a targeted
and time-limited elevation of relevant decisions at the Department of the Interior (Department)
for the purpose of reviewing the questions in fact, law, and policy they raise. This Order ensures
that the Department continues its existing operations—including operations necessary for health,
safety, and national security matters—consistent with all legal obligations and policy goals, to
uphold trust and treaty responsibilities to Tribal nations, and to responsibly steward the Nation’s
public lands, waters, and resources for current and future generations.

Sec. 2. Authority. This Order is issued under the authority of section 2 of Reorganization Plan
No. 3 of 1950 (64 Stat. 1262) and is consistent with 200 DM 1.

Sec. 3. Suspension of Authority. The delegations of authority to Department Bureaus and
Offices to take any of the following actions are hereby temporarily suspended, but the actions
may be approved by leadership identified in section 4 of this Order:
   a. To publish, cause to be published, or aid in the publication of any notice in the Federal
      Register, including but not limited to notices of proposed or final agency action and
      actions taken in accordance with the National Environmental Policy Act.
   b. To issue, revise, or amend resource management plans under the authority of section
      202 of the Federal Land Policy and Management Act, as amended.
   c. To issue any final decision with respect to R.S. 2477 claims, including recordable
      disclaimers of interest.
   d. To appoint, hire, or promote personnel, or approve the appointment of any personnel.
      This does not apply to seasonal hires or emergency work force personnel.
   e. To issue any onshore or offshore renewable energy authorization, including but not
      limited to a lease, amendment to a lease, right-of-way, amendment to a
      right-of-way, contract, or any other agreement required to allow for renewable
      energy development. This does not limit existing operations under valid leases. It also
      does not apply to authorizations necessary to (1) avoid conditions that might pose a threat
      to human health, welfare, or safety; or (2) avoid adverse impacts to public land or mineral
      resources.
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Sec. 4. Implementation. Any and all delegations of authority to take the actions set out in
section 3 are temporarily suspended with respect to individuals other than a confirmed or acting
official in the following positions or a person who has delegated authority pursuant to Secretary’s
Order 3414 to exercise the authority associated with the following positions under current law
and regulations:
   a. Secretary
   b. Deputy Secretary
   c. Solicitor
   d. Assistant Secretary – Policy, Management and Budget
   e. Assistant Secretary – Land and Minerals Management
   f. Assistant Secretary – Water and Science
   g. Assistant Secretary for Fish and Wildlife and Parks
   h. Assistant Secretary – Indian Affairs
   i. Assistant Secretary – Insular and International Affairs

Sec. 5. Expiration Date. This Order is effective on January 29, 2025, and will remain in effect
for 60 days, or until amended, superseded, or revoked.


                                                            ________________________
                                                            Walter Cruickshank
                                                            Acting Secretary of the Interior


Date: January 29, 2025
